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as

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August 30, 2019
Via Courier

Office of the Clerk

U.S. District Court for the Eastern District of Virginia
Albert V. Bryan U.S. Courthouse

401 Courthouse Square

Alexandria, VA 22314

Re: Sony Music Entm’t, et al., v. Cox Comme’ns, Inc., et al.,
1:18-cv-00650-LO-JFA

Dear Clerk of Court:
We represent Plaintiffs in the above-captioned matter.

On August 15, 2019, the Court granted Plaintiffs’ Motion to File Electronic
Copies of their Exhibits to their Motion for Summary Judgment on Portable Storage
Media. (Dkt. 246).

Pursuant to that order, Plaintiffs hereby enclose two external hard drives for filing
in support of their Motion for Summary Judgment that is being filed today. The drive
labeled “Public Version” can be filed publicly. The drive labeled “File Under Seal”
contains confidential information subject to Plaintiffs’ motion to seal, which is being
filed today.

A courtesy copy of each drive is also enclosed for Judge O’Grady.
The drives contain exhibits to the following documents being filed today:

1. Declaration of Wade Leak in Support of Plaintiffs’ Motion for Summary
Judgment;

2. Declaration of Anish Patel in Support of Plaintiffs’ Motion for Summary
Judgment;
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3. Declaration of Jeremy Bleitz in Support of Plaintiffs’ Motion for Summary
Judgment;

4. Declaration of David Kokakis in Support of Plaintiffs’ Motion for Summary
Judgment;

5. Declaration of Steven Poltorak in Support of Plaintiffs’ Motion for Summary
Judgment;

6. Declaration of Alasdair McMullan in Support of Plaintiffs’ Motion for Summary
Judgment; and

7. Declaration of Jeffrey M. Gould in Support of Plaintiffs’ Motion for Summary
Judgment.

Thank you for your assistance with this matter. Should you have any questions, I
can be reached at the contact information noted above.

Sincerely,
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Enclosures
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

SONY MUSIC ENTERTAINMENT, et al.,

Plaintiffs,

v. ==
Case No. |:18-cv-00950-LO-JFA 3
COX COMMUNICATIONS, INC., et al., . mm
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Defendants. ° 3
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ORDER

Having considered Plaintiffs’ Motion to File Electronic Copies of their Exhibits to their, z )
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Motion for Summary Judgment on Portable Storage Media, filed August 14, 2019, it is hereby
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ORDERED that the motion is GRANTED. Plaintiffs are permitted to file the exhibits to their

summary judgment motion on a flash drive or hard-drive, rather than through the Court's

Electronic Court Filing system (“ECF”).

7,
It is so ORDERED this 4S day of August 2019.

is/ x

John F Anderson

United States Magistrate Judge
